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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 JIM HAWVER,                                                       Case No. 21-cv-1646 (GRB) (ARL)
                                     Plaintiff,
                                                                   SATISFACTION OF JUDGMENT
                   -v-

 CANON U.S.A., INC.,
                                     Defendant.
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          WHEREAS, Defendant Canon U.S.A., Inc. (“CUSA”) submitted a Federal Rule of Civil

 Procedure 68 Offer of Judgment to Plaintiff Jim Hawver (“Plaintiff”) on November 18, 2021,

 which Plaintiff accepted on December 1, 2021 (Dkt. No. 22);

        WHEREAS, the Judgment was entered in the above action on December 9, 2021 (Dkt. No.

 25) (“Judgment”) in the amount of $32,000, inclusive of attorney’s fees and costs, and pre-

 judgment interest; and

        WHEREAS, said Judgment having been fully paid by CUSA.

        THEREFORE, full and complete satisfaction of said Judgment is hereby acknowledged,

 and the Clerk of the Court for the United States District Court for the Eastern District of New York

 is hereby authorized and directed to make an entry of the full and complete satisfaction on the

 docket of said Judgment.

  Dated: December 30, 2021                         Respectfully submitted,




                                                   By:
                                                   Law Offices of William Cafaro
                                                   William Cafaro, Esq.
                                                   Amit Kumar, Esq.
                                                   108 West 39th Street, Suite 602
                                                   New York, New York 10018

                                                   Attorneys for Plaintiff Jim Hawver
